 

Case 2:23-cv-00580-APG-EJY Document3 Filed 04/17/23 Page 1of1

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AO 440 Res 06 02) Summons ina Cistl Action oo een ecRYCN AN

 

 

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UNITED STATES DISTRICT COURT _SounseePaRlics OF RECO
APR 17 2023

District of Nevada : ernar tout
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© DISTRICT OF HEVADA

 

 

 

 

Jose DeCastro ,
BY: DENT \
Pe eisithesy
\. Civil Action No.

Las Vegas Metropolitan Police Department, et al.

2:23-cv-00580-APG-EJY

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Defendant(s)
SUMMONS IN A CIVIE ACTION

LO as pti tid addiosst LAS VEGAS METROPOLITAN POLICE DEPARTMENT: STATE OF NEVADA.
BRANDEN BOURQUE: JASON TORREY: C. DINGLE; B. SORENSON;
JESSE SANDOVAL: OFFICER DOOLITTLE: and DOES 1 to 50. inclusive

Adawsuit has been filed against you.

Within 27 days after service ef this summons on vou {not counting the day you received it} — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United Sues deseribed in Fed. R. Civ.
Po i2(ay2yor(3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure, The answer or motion must be served on the plaintiff or plaintiff's attorney.
Whoso#ame and address are: Jose DeCastro

1258 Franklin St.
Santa Monica. CA 90404

HWyeu fail te respond. judgment by default will be entered against sou for the relief demanded in the conmpisint
You also must file your answer or motion with the court.

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CLERRAIECONRT

Signature af Cle

     
 

Date: Uf (4 2?

Aepury Clerk

   

 
